             Case 22-11068-JTD         Doc 22601        Filed 08/09/24      Page 1 of 3




UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE


  In re:                                                   Chapter 11

  FTX TRADING LTD., et al.,                                No. 22-11068 (JTD)

                         Debtors                           (Jointly Administered)


                 TRANSFER OF CLAIM OTHER THAN FOR SECURITY

       A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(1) of the Federal Rules of
Bankruptcy Procedure of the transfer, other than for security, of the claim referenced in this
evidence and notice.

 Name of Transferor:                          Name of Transferee:

 Name (Redacted)                              CDOF IV Master Fund, L.P.

 Name and Current Address of                  Name and Address where notices and payments to transferee
 Transferor:                                  should be sent:
 Name (Redacted)                              CDOF IV Master Fund, L.P.
                                              c/o Canyon Capital Advisors LLC
                                              Attn: James Pagnam and Legal
                                              Email: legal@canyonpartners.com
                                              2000 Avenue of the Stars, 11th Floor
                                              Los Angeles, CA 90067

  Claim No./Schedule        Creditor Name                Amount                 Debtor             Case No.
  Confirmation ID No.       Name (Redacted)           Unliquidated          FTX Trading Ltd.       22-11068
   3265-70-AGTNQ-                                   (stated in crypto)
      823880183
  Customer Code No.         Name (Redacted)          as described on        FTX Trading Ltd.       22-11068
       02698379                                        Schedule F
                                                        (attached)

I declare under penalty of perjury that the information provided in this notice is true and correct
to the best of my knowledge and belief.


By: _____________________                                                Date: August 2   , 2024
Transferee/Transferee’s Agent
Case 22-11068-JTD   Doc 22601   Filed 08/09/24   Page 2 of 3
             Case 22-11068-JTD        Doc 22601      Filed 08/09/24     Page 3 of 3




                                      Identity of Transferor


Transferee has in its possession an Evidence of Transfer signed by the Transferor.

In order to protect the identity of the Transferor, Transferee has not disclosed the Transferor’s
name or address, and has not attached the signed Evidence of Transfer to this notice of Transfer
of Claim.

Upon written request, Transferee is prepared to provide a copy of the signed Evidence of
Transfer to the Bankruptcy Court, the Debtors, and appropriate professionals.
